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                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF CALIFORNIA



UNITED STATES OF AMERICA,                )
                                         )       CASE NO. 13-CR-311JAM
              Plaintiff,                 )
                                         )
       vs.                               )
                                         )                ORDER
ROBERT ELDON ROBERTSON,                  )
ESTHER LYNNE ROBERTSON                   )
          Defendants.                    )
                                         )

       Pursuant to the authority afforded this Court by Title 26, United States Code,

Section 6103(h)(4)(D) and Federal Rule of Criminal Procedure 16(d)(1), to permit

disclosure of third party tax return and return information and make appropriate orders

with respect to any and all discovery and inspection of documents and tangible objects,

and for good and sufficient cause,

       IT IS HEREBY ORDERED that the United States' Motion for Order Allowing

LimitedDisclosure of Tax Return Information and for Protective Order is hereby

GRANTED.

       IT IS FURTHER ORDERED that the United States may disclose to defense

counsel and the defendant return and return information, in accordance with its

discovery obligations pursuant to Federal Rule of Criminal Procedure 16 and Title 18,

United States Code, Section 3500. For purposes of this Order, “return" and "return

information" shall be defined as set forth in Title 26, United States Code, Section

6103(b).
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        IT IS FURTHER ORDERED that the United States may disclose to defense

counsel and the defendant additional return or return information subject to its

continuing duty of disclosure pursuant to Federal Rule of Criminal Procedure 16(c)

without making separate application to the Court.

        IT IS FURTHER ORDERED that defense counsel shall maintain the returns and

return information provided by the United States in the defense counsel's custody and

disclose return and return information only to the defendant and defense counsel's

investigator (who consents to the jurisdiction and Order of this Court). Defense counsel

shall not reproduce or disseminate any return or return information without further order

of the Court.

        IT IS FURTHER ORDERED that, with respect to any copies made at the request

and expense of defense counsel of evidence which is stored by the Internal Revenue

Service, Criminal Investigation or the office of the Treasury Inspector General for Tax

Administration in relation to this case, the following conditions shall apply:

        1. Any and all return and return information contained therein shall be subject to

this

Order; and

        2. Any and all return and return information contained therein shall not be further

copied or disseminated without further order of the Court.

        IT IS FURTHER ORDERED that with respect to any discovery provided by the

government in this case, said discovery is for use in the defense of this criminal case

only.

        IT IS FURTHER ORDERED that nothing herein requires the government to
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provide discovery beyond what is required by U.S. Constitution, statute, the Federal

Rules of Criminal Procedure, and the Court’s discovery orders.



IT IS SO ORDERED.




Date: 12/4/2013                                /s/ John A. Mendez

                                               United States District Court Judge
